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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

WENDY R. SMOOT-LEE

             Plaintiff,
                                                      (IV 416 -184
VS.                                               Civil Action

CORIZON HEALTH, INC. AND SHENA
DANIELLE BURTON

             Defendant.

                             NOTICE OF REMOVAL *

       COME NOW Defendant Corizon Health, Inc., by and through undersigned

counsel of record, within the time prescribed by law, file this Notice of Removal

pursuant to 28 U.S.C. §§ 1441 and 1446, and respectfully show to the Court the

following:

                                           1.

       The case of Smoot Lee v. Corizon Health. Inc. et al., was filed and is

presently pending in the State Court of Chatham County, and is known as Civil

Action No. CY1 6-00723 in that Court.

                                           2.

       Plaintiff in said action asserts a cause of action against Defendant Burton for

assault and battery on Plaintiff while Defendant Burton was incarcerated in the

Chatham County Detention Center. Plaintiff in said action also asserts a cause of
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action against Defendant Corizon Health by claiming that Corizon Health was

negligent in their provision of medical care and treatment for Defendant Burton

while she was incarcerated at the Chatham County Detention Center.

                                             3.

      Plaintiff is a resident of Georgia.



      Defendant Corizon Health is a foreign corporation organized under the laws

of Delaware with a principal place of business in Brentwood, Tennessee.

                                            5.

      Complete diversity exists between Plaintiff and Defendant Corizon Health in

accordance with 28 U.S.C. § 1332(a)(1).



      The Plaintiffs complaint alleges and Defendant Corizon concedes that the

amount in controversy, exclusive of interest and costs, exceeds the sum or value of

$75,000.

                                            7.

      Defendant Burton is of unknown residence in Georgia or any other state and

as of the date of this filing has not been served in this matter, despite three separate

attempts being made.




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        The only cause of action asserted against Defendant Burton by Plaintiff has

a statute of limitations of 2 years from the day the cause of action arose. O.C.G.A.

§ 9-3-33.



        Plaintiff's Complaint alleges that on May 27, 2014, Defendant Burton

violently attacked her causing severe and permanent injuries. Plaintiff's Complaint

at 1113 .

                                             10.

        Although Plaintiff filed her Complaint on May 16, 2016, service was not

perfected on Defendant Burton within the two year statute of limitations, to wit,

May 27, 2016.

                                             11.

            Additionally, Plaintiff has not attempted service on Defendant Burton since

May 29, 2016.

                                             12.

            Upon information and belief, Defendant Burton has still not been served and

has not acknowledged service of the Complaint.




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                                         13.

      Timely filing of the complaint only tolls the statute of limitations if the

plaintiff acts in a reasonable and diligent manner in attempting to make proper

service as quickly as possible and that he was not at fault. Pryor v. Douglas

Shopper - the Coffee County News, 236 Ga. App. 854, 856 (Ga. App. 1999). If the

plaintiff cannot make such a showing, he is guilty of laches and service does not

relate back to the time of filing of the complaint. Id citing Patterson v. Johnson,

226 Ga. App. 396, 397 (486 S.E.2d 660) (1997).

                                         14.

      The claims Plaintiff makes against Defendant Burton and against Corizon

Health have no real relationship to each other and are entirely separate and

unrelated. Specifically, Corizon Health is not implicated in Plaintiffs claim against

Defendant Burton for committing an intentional tort and Defendant Burton is not

implicated in Plaintiffs negligence claim against Corizon Health.

                                         15.

      Corizon Health is informed, believes, and on that basis alleges that

Defendant Burton was wrongfully and fraudulently joined as a party defendant for

the sole purpose of attempting to deprive Corizon Health of its rights, as a

nonresident of the State of Georgia, to remove this case to this federal court. In

support of its claim that Defendant Burton was wrongfully and fraudulently joined




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as a party defendant for the sole purpose of attempting to defeat this defendant's

right to remove this case to federal court, Corizon Health alleges:

         a. Plaintiff has asserted claims against Defendant Burton which are

             wholly unconnected to Plaintiff's allegation against Corizon Health.

         b. Plaintiff has not diligently or reasonably attempted service on

             Defendant Burton, despite knowledge that the statute of limitation has

             expired for their sole cause of action against her.

                                          16.

      Removal of this action to the United States District Court is proper under 28

U.S.C. § 1441(a), (b) because there is complete diversity of citizenship between the

plaintiff and the only true defendant, and the only person properly joined as a

defendant is not a citizen of the state in which the action is proceeding. The United

States District Court would, therefore, have had original jurisdiction of this matter

under 28 U.S.C. § 1332 had the action been brought in federal court originally.

                                          17.

      Venue properly rests in the Savannah Division of the United States District

Court for the Southern District of Georgia, as this case is being removed from the

State Court of Chatham County, Georgia, which sits and is located in the Savannah

Division of the United States District Court for the Southern District of Georgia.




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      Defendants executed an Acknowledgement of Service dated June 2, 2016,

and this Notice is filed within thirty days thereof pursuant to the requirements of

28 U.S.C. § 1446(b).

                                         19.

      As required by 28 U.S.C. § 1446(a), the Defendants attach to this Notice of

Removal a true and correct copy of all process, pleadings and orders as received by

the Defendants is attached hereto as Exhibit "1" and incorporated herein by

reference. The undersigned counsel for Defendants verify that Exhibit "1" is a true

and complete copy of all pleadings and other documents filed in the State Court

proceeding.

                                         20.

      No further proceedings have occurred in the subject action.

                                         21.

      There are no motions pending in the State Court action at the time of

removal to this Court.

                                          22.

      Concurrently with this Notice, Defendant Corizon Health will file a true and

correct copy of this Notice with the State Court of Chatham County, Georgia, as

provided by law, and written notice is being sent to Plaintiff's counsel.
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                                         23.

       The allegations of this Notice are true and correct and this case is removable

to this Court.

                                         24.

       If any question arises as to the propriety of the removal of this action,

Corizon Health respectfully request the opportunity to present a brief and oral

argument in support of their position that this cause is removable.

       WHEREFORE Defendant Corizon Health prays that the case be removed to

the United States District Court for the Southern District of Georgia, Savannah

Division.

       Respectfully submitted this 1st day of July 2016.

                                       CARLOCK, COPELAND & STAIR, L.L.P.

                                        By: Is! Thomas S. Carlock
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                            CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and

foregoing pleading upon all parties to this matter by the CM/ECF system:

         William R. Claiborne
         Cameron C. Kuhlman
         The Claiborne Firm, P.C.
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         S. Wesley Woolf, P.C.
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         Attorney for Plaintiffs


         This 1st day of July, 2016.


                                       By:    Is! Thomas S. Carlock
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